            Case 2:19-cv-01720-YY           Document 3   Filed 11/01/19      Page 1 of 6




Jesse Merrithew, OSB No. 074564
Email: jesse@lmhlegal.com
Ethan Levi, OSB No. 994255
Email: ethan@lmhlegal.com
Levi Merrithew Horst PC
610 SW Alder Street, Suite 415
Portland, Oregon 97205
Telephone: (971) 229-1241
Facsimile: (971) 544-7092

Attorneys for Plaintiff




                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PENDLETON DIVISION




JEFFREY LOCKER,                                      Case No.: 2:19-cv-1720-SU

                               Plaintiff,
                                                     PLAINTIFF’S FIRST AMENDED
                                                     COMPLAINT
       vs.                                           Civil Rights Action (42 U.S.C. § 1983)
                                                     Violation of Eighth Amendment
                                                     Negligence (Oregon Tort Claims Act)
BENNETTE NORTON and THE STATE
OF OREGON,                                           Jury Trial Demanded

                               Defendants.




                                    NATURE OF THE CASE

       1.      Plaintiff is a prisoner in the Oregon Department of Corrections (“ODOC”). In June

of 2016 he suffered an injury to his right elbow that required surgery. He sought help from the


Page 1 – FIRST AMENDED COMPLAINT
                                                                           LEVI MERRITHEW HORST PC
                                                                        610 SW ALDER STREET, STE 415
                                                                                 PORTLAND, OR 97205
                                       Case 2:19-cv-01720-YY         Document 3        Filed 11/01/19       Page 2 of 6




                          defendant, a medical doctor employed by the prison. Dr. Norton identified the likely cause of

                          plaintiff’s pain, but instead of sending plaintiff out for the surgery he needed, Dr. Norton gave him

                          three steroid injections over the course of 20 months. Those steroid injections caused permanent

                          injury to plaintiff, including loss of the full use of his dominant hand and disfigurement.

                                                                          JURISDICTION

                                  2.      This court has jurisdiction over the subject matter under 42 U.S.C. § 1983 and 28

                          U.S.C. §§ 1331, 1343(a)(3), and 1343(a)(4). The court has jurisdiction over plaintiff’s pendent state

                          law claims under 28 U.S.C. § 1367.

                                                                               VENUE

                                   3.     Venue is proper within the District of Oregon because all of the events giving rise to

                          these claims occurred in this judicial district, and all defendants reside in this judicial district. 28
LEVI MERRITHEW HORST PC




                          U.S.C. § 1391(b). Specifically, all of the acts and practices alleged herein occurred at Two Rivers

                          Correctional Institution (“TRCI”) in Umatilla, Oregon.

                                                                              PARTIES

                                  4.      Plaintiff Jeffrey Locker is a prisoner of ODOC. At all times relevant, he lived at

                          TRCI.

                                  5.      Defendant Bennette Norton is a medical doctor employed by ODOC who works at

                          TRCI.

                                  6.      Defendant State of Oregon is the lawful defendant for Defendant Norton’s negligent

                          conduct under the Oregon Tort Claims Act.




                          Page 2 – FIRST AMENDED COMPLAINT                                                LEVI MERRITHEW HORST PC
                                                                                                       610 SW ALDER STREET, STE 415
                                                                                                                PORTLAND, OR 97205
                                      Case 2:19-cv-01720-YY        Document 3       Filed 11/01/19      Page 3 of 6




                                                                 FACTUAL ALLEGATIONS

                                 7.      In June of 2016, Mr. Locker was participating in the dog training program at TRCI.

                          He was training a dog on a leash when the dog suddenly pulled, causing him to fall awkwardly on

                          his right elbow. Mr. Locker immediately reported the incident and the injury to staff.

                                 8.      No one from medical saw Mr. Locker until July 27, 2016. On that day, Mr. Locker

                          was seen by a nurse. He told the nurse that he had “searing, burning pain” in his right elbow.

                                 9.      On August 10, 2016, Mr. Locker saw the defendant, Dr. Norton, for the first time to

                          address the injury to his elbow. Dr. Norton, based on Mr. Locker’s reported symptoms and

                          description of the injury, immediately suspected a contusion to the right ulnar nerve. There was no

                          other differential diagnosis documented. The defendant ordered an x-ray of the right elbow. An x-

                          ray will not image a nerve. He also ordered a course of oral steroids, an ice pack, and follow-up in
LEVI MERRITHEW HORST PC




                          two weeks.

                                 10.     On August 24, 2016, Mr. Locker had a follow up appointment with Dr. Norton. Dr.

                          Norton explained that the results of the x-ray were negative. Mr. Locker reported that the oral

                          steroids helped with his pain while he was taking them, but the pain immediately came back when

                          he finished the course of treatment. Dr. Norton ordered a second course of oral steroids and wrote,

                          “? Consider EMG-NCV?”. EMG-NCV is an abbreviation for electromyogram test and nerve

                          conduction study, a procedure for testing nerve damage.

                                 11.     On September 14, 2016, Mr. Locker had another follow up appointment with Dr.

                          Norton. He again reported continued pain and discomfort since completing steroid course. Dr.

                          Norton ordered that he be placed on light duty for 30 days, changed the ice pack order to a hot pack

                          order, and ordered follow up in one month.



                          Page 3 – FIRST AMENDED COMPLAINT                                            LEVI MERRITHEW HORST PC
                                                                                                   610 SW ALDER STREET, STE 415
                                                                                                            PORTLAND, OR 97205
                                      Case 2:19-cv-01720-YY          Document 3      Filed 11/01/19      Page 4 of 6




                                  12.     On October 18, 2016, Mr. Locker had another follow up appointment with Dr.

                          Norton. He again reported continued pain and discomfort that was worse than previous

                          appointments. Dr. Norton ordered an increase in NSAID pain medication.

                                  13.     On November 16, 2016, Mr. Locker had another follow up appointment with Dr.

                          Norton. He reported continued pain and discomfort in his elbow. Dr. Norton ordered the first steroid

                          injection for the elbow. That injection occurred on December 5, 2016.

                                  14.     On January 18, 2017, Mr. Locker had a follow up appointment and reported that he

                          was in less pain since the steroid injection.

                                  15.     By May 28, 2017, the effects of the steroid injection had worn off, and Mr. Locker

                          sent an inmate communication (“kyte”) to Dr. Norton reporting that the pain in his elbow had

                          returned.
LEVI MERRITHEW HORST PC




                                  16.     On June 12, 2017, Dr. Norton saw Mr. Locker and scheduled a second steroid

                          injection. That injection occurred on June 15, 2017. Dr. Norton did not refer Mr. Locker to a

                          specialist, order any imaging, or conduct any nerve testing.

                                  17.     On October 29, 2017, Mr. Locker sent another kyte to Dr. Norton, again reporting

                          that his elbow was not getting better.

                                  18.     Dr. Norton saw Mr. Locker on November 8, 2017. Mr. Locker demanded to see a

                          specialist to address his elbow pain. Dr. Norton then requested authorization for the first time to

                          send Mr. Locker for the nerve testing he first considered in August of 2016. He also ordered a third

                          steroid injection.

                                  19.     Mr. Locker did not actually get to see a specialist to conduct the nerve testing until

                          March 6, 2018. He had to send two kytes in the interim inquiring about the delay. On March 6,

                          2018, Dr. Michael Turner conducted EMG/NCV testing and concluded that Mr. Locker had 40%

                          Page 4 – FIRST AMENDED COMPLAINT                                              LEVI MERRITHEW HORST PC
                                                                                                     610 SW ALDER STREET, STE 415
                                                                                                              PORTLAND, OR 97205
                                     Case 2:19-cv-01720-YY          Document 3       Filed 11/01/19      Page 5 of 6




                          loss of function in the nerves of his right hand. Dr. Turner recommended that Mr. Locker see an

                          orthopedic surgeon to consider surgery. This was the first time that Mr. Locker learned that he had

                          been injured as a result of Dr. Norton’s conduct.

                                   20.    Mr. Locker was not sent to see a surgeon until June 11, 2018, when he saw Dr.

                          Bales. Dr. Bales recommended surgery to repair the physical damage to Mr. Locker’s right ulnar

                          nerve.

                                   21.    On July 24, 2018, Mr. Locker finally got the surgery he had needed for the

                          preceding two years. As a result of the repeated steroid injections conducted by Dr. Norton and the

                          long delay in treatment, Dr. Bales found rotten, atrophied tissue that had to be removed in the area

                          around his elbow. In addition, his ulnar nerve has been permanently damaged, with a resulting

                          reduction of function in his dominant right hand.
LEVI MERRITHEW HORST PC




                                   22.    On October 31, 2018, Mr. Locker provided notice to ODOC that he intended to file

                          a lawsuit as required by Or. Rev. Stat. § 30.275.

                                                             FIRST CAUSE OF ACTION
                                              (Civil Rights 42 U.S.C. § 1983 Against Defendant Norton)

                                   23.    Defendant was deliberately indifferent to Mr. Locker’s serious medical needs by

                          failing to send Mr. Locker out for an orthopedic and/or neurological consultation when the oral

                          steroids failed to resolve the issue. At the latest, Mr. Locker should have been sent for a consultation

                          when the steroid injection failed to resolve the issue. Instead, Dr. Norton injected Mr. Locker two

                          more times, causing permanent damage to Mr. Lockers elbow.

                                   24.    Defendant’s conduct toward Mr. Locker resulted in reduction of nerve function in

                          Mr. Locker’s dominant right hand, substantial pain, and permanent disfigurement of the right arm




                          Page 5 – FIRST AMENDED COMPLAINT                                             LEVI MERRITHEW HORST PC
                                                                                                    610 SW ALDER STREET, STE 415
                                                                                                             PORTLAND, OR 97205
                                     Case 2:19-cv-01720-YY           Document 3       Filed 11/01/19     Page 6 of 6




                          and therefore subjected him to cruel and unusual punishment under the Eighth Amendment to the

                          United States Constitution.

                                                         SECOND CAUSE OF ACTION
                                    (Negligence Under the Oregon Tort Claims Act Against the State of Oregon)

                                  25.     Dr. Norton’s conduct breached his duty of care to Mr. Locker and Mr. Locker was

                          injured as a result of that breach.

                                  26.     Under the Oregon Tort Claims Act, the State of Oregon is liable for Dr. Norton’s

                          negligence under the circumstances described above.

                                                                     PRAYER FOR RELIEF

                                  WHEREFORE, plaintiff prays for relief as follows:

                                          a.          For judgment in favor of plaintiff against defendants for economic and
LEVI MERRITHEW HORST PC




                                                      noneconomic damages for each Constitutional violation in an amount to

                                                      be proven at trial.

                                          b.          For costs and reasonable attorneys’ fees and costs pursuant to 42 U.S.C. §

                                                      1988.

                                          c.          For such other and further relief as may appear just, equitable, and

                                                      appropriate.

                                                                     JURY DEMAND

                                  Plaintiff hereby demands a jury trial.


                          DATED this 1st day of November, 2019.

                                                                                  LEVI MERRITHEW HORST PC

                                                                                  By:     /s Jesse Merrithew
                                                                                          Jesse Merrithew, OSB No. 074564
                                                                                          Email: jesse@lmhlegal.com

                          Page 6 – FIRST AMENDED COMPLAINT                                              LEVI MERRITHEW HORST PC
                                                                                                     610 SW ALDER STREET, STE 415
                                                                                                              PORTLAND, OR 97205
